           Case 2:20-cv-00027-RFB-EJY Document 44 Filed 12/29/20 Page 1 of 4




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 6   GOLDEN BEAR INSURANCE COMPANY
 7

 8                                 UNITED STATES DISTRICT COURT

 9                                  SOUTHERN DISTRICT OF NEVADA

10   GOLDEN BEAR INSURANCE COMPANY, a                     Case No. 2:20-cv-00027-RFB-EJY
     California corporation,
11
                                                          STIPULATION AND PROPOSED ORDER TO
12                   Plaintiff,                           AMEND SCHEDULING ORDER

13   v.                                                   (Second Request)

14   EVANSTON INSURANCE COMPANY, an
     Illinois corporation; and STARSTONE
15
     SPECIALTY INSURANCE COMPANY, a New
16   Jersey corporation,

17                   Defendants.
18   AND RELATED COUNTERCLAIM
19

20            Plaintiff and Counter-Defendant, Golden Bear Insurance Company (“Golden Bear”),

21   Defendant and Counter-Claimant Evanston Insurance Company (“Evanston”) and Defendant Starstone

22   Specialty Insurance Company (“Starstone”), by and through their attorneys of record, hereby stipulate

23   to amend the Court’s September 11, 2020 Order Amending the Scheduling Order (ECF No. 34),

24   pursuant to Local Rule 26-4, to extend the discovery deadline as set forth herein. This is the second

25   stipulation to extend deadlines.

26        Golden Bear, Evanston and Starstone (“Parties”) require additional time to complete the deposition

27   of a third-party witness, Nancy Ellen Caldwell of RT Specialty based on the following good cause:

28   ///

                                     -1-
     SECOND STIPULATION AND PROPOSED ORDER TO AMEND SCHEDULING ORDER
         Case 2:20-cv-00027-RFB-EJY Document 44 Filed 12/29/20 Page 2 of 4




 1          This is an insurance coverage action regarding Evanston’s and Starstone’s purported duty to

 2   defend and indemnify an alleged mutual insured (Henderson Water Park, LLC dba Cowabunga Bay

 3   Water Park (“Cowabunga Bay”) in two underlying personal injury actions and issues of indemnity and

 4   contribution between the Parties.

 5      Despite the Parties’ diligence, they are unable to complete discovery by December 31, 2020;

 6   specifically, to conduct the deposition of witness, Nancy Ellen Caldwell of RT Specialty. She was

 7   unavailable on the date scheduled to be taken in December, 2020. Her deposition is now scheduled for

 8   January 14, 2021.

 9      The Parties agree to extend the discovery deadline solely for the purpose to take and complete the
10   deposition of Ms. Caldwell. Accordingly, the Parties propose the discovery cut-off be extended to
11   January 29, 2021.
12   A. Discovery That Has Been Completed
13      The Parties have completed the following discovery:

14      1. On April 9, 2020, Evanston served a Subpoena Duces Tecum on third party witness Haas &

15   Wilkerson.

16      2. On April 9, 2020, Evanston served on Golden Bear its Request for Production of Documents

17   (Set 1), Interrogatories (Set 1) and Request for Admissions (Set 1), which Golden Bear answered.

18      3. On April 10, 2020, Evanston served its Initial Disclosures Statement.

19      4. On April 10, 2020, Starstone served its Initial Disclosures Statement along with documents

20   Bates numbered 000001-000046, which Starstone might use to support its claims or defenses.

21      5. On April 14, 2020, Golden Bear served its Initial Disclosures Statement, along with documents

22   Bates numbered GB00001-GB00066, which Golden Bear might use to support its claims or defenses.

23      6. On April 23, 2020, third party witness Haas & Wilkerson produced documents in response to

24   Evanston’s April 9, 2020 subpoena duces tecum.

25      7. On May 5, 2020, Golden Bear served Evanston its Requests for Production of Documents (set

26   1), and Requests for Admissions (Set 1) on Evanston, which Evanston answered.

27      8. On May 26, 2020, Golden Bear served its First Supplement to its Initial Disclosures Statement

28   along with documents Bates numbered GB00067-GB000280.

                                     -2-
     SECOND STIPULATION AND PROPOSED ORDER TO AMEND SCHEDULING ORDER
           Case 2:20-cv-00027-RFB-EJY Document 44 Filed 12/29/20 Page 3 of 4




 1      9. On June 16, 2020, Evanston served its Supplemental Initial Disclosures Statement.

 2      10. On June 18, 2020, pursuant to the Parties’ stipulation, the Court issued a protective order

 3   covering disclosure and discovery activity in this action.

 4      11. On June 22, 2020, Evanston produced copies of the documents (pages 001-189) in response to

 5   Golden Bear’s Request for Production of Documents (set 1).

 6      12. On August 5, 2020, Evanston served a deposition subpoena on third party witness Karen Salas.

 7      13. On August 20, 2020, Starstone served Golden Bear with its Request for Admissions (set 1),

 8   Request for Production of Documents (set 1), and Interrogatories (set 1), which were answered.

 9      14. On September 10, 2020, the Parties took the deposition of Karen Salas of Haas & Wilkerson in
10   Fairway, Kansas.
11      15. On October 8, 2020, Golden Bear served StarStone with its Request for Admissions (set 1),
12   Request for Production of Documents (set 1), and Interrogatories (set 1), which were answered.
13      16. On October 8, 2020, Golden Bear served Evanston with Interrogatories (set 1), which were
14   answered.
15      17. On November 20, 2020, StarStone served its First Supplement to FRCP Rule 26 Disclosures.
16      18. On December 28, 2020, Golden Bear served its responses to StarStone’s second set of
17   Interrogatories and Requests for Production of Documents.
18   B. Discovery That Remains to be Completed
19      The Parties need to complete the following discovery:

20      1. The deposition of Nancy Ellen Caldwell of RT Specialty | Binding Authority.

21   C. Reasons Why Remaining Discovery Was not Completed

22      Non-expert discovery has not been completed because Ms. Caldwell was unavailable for the

23   deposition date originally scheduled to be completed before the discovery cut-off. Her deposition is

24   now scheduled to be taken on January 14, 2021, which is after the discovery cut-off.

25   ///

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                                     -3-
     SECOND STIPULATION AND PROPOSED ORDER TO AMEND SCHEDULING ORDER
        Case 2:20-cv-00027-RFB-EJY Document 44 Filed 12/29/20 Page 4 of 4




 1   D. Proposed Schedule for Completing The Outstanding Discovery

 2          The Parties hereby stipulate to extend the discovery cut-off to January 29, 2021 for the sole

 3   purpose of taking Ms. Caldwell’s deposition.

 4      IT IS SO STIPULATED.

 5   Dated: December 29, 2020                     MCKAY LAW FIRM, CHTD.

 6                                                By:     /s/ Pamela A. McKay
                                                          Pamela A. McKay
 7
                                                          Attorneys for Plaintiff and Cross-Defendant
 8                                                        Golden Bear Insurance Company

 9
     Dated: December 29, 2020                     CLARK HILL LLP
10
                                                  By:     /s/ Gary A. Hamblet
11                                                        Gary A. Hamblet
12                                                        Attorneys for Defendant and Counter-Claimant
                                                          Evanston Insurance Company
13

14   Dated: December 29, 2020                     AMES & AMES, LLP
15
                                                  By:     /s/ Chet Glover
16
                                                          Chet Glover
17                                                        Attorneys for Defendant Starstone Specialty
                                                          Insurance Company
18

19      PURSUANT TO STIPULATION, IT IS SO ORDERED.
20

21   Dated: December 29, 2020                     _________________________________
                                                    Elayna J. Youchah
22                                                  United States Magistrate Judge
23

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                                     -4-
     SECOND STIPULATION AND PROPOSED ORDER TO AMEND SCHEDULING ORDER
